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\)Q… C Q pl ' |`LQ ' CASENOMT$Z
Plaintitr(s)
PRo sE APPEARANCE AND
ANSWER§ F:LED ______Lo:>e&o 1
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l "BY m
yéz I am a defendant in this action and submit this answer for myself only.

I am a defendant in this action and submit this answer for myself and my spouse.

_ I am the __________ in the corporation, have submitted a corporate authority, allowing me to
represent the corporation, and submit this answer on behalf of the corporation.

My/our correct name(s) and current address is:

Name: SQQ'\"\" §)f€€.l Q,
Spouse Name: /1/ / A

Street: 710 /O§HA S'i ‘ 5 »
City/State: T<»\Como\ ; L/\\H ~
Phone (353) 53?`?%¢?6

 

I/WE DISAGREE WITH THE COMPLAINT BECAUSE: , ,
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Ko o ve
I declare under penalty of perjury of the laws of the State of Washington that the foregoing is true and correct.

DATED 10`50~17 MM%M

Defendant Signature and printed name

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